
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Randolf Moore appeals the district court’s order denying his motion to reconsider the district court’s previous order denying his motion to supplement. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. United States v. Moore, No. 4:95-cr-00041-H-7 (E.D.N.C. Aug. 6, 2009). We deny Moore’s motion for transcript at gov*858ernment expense, and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

